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Case 4:21-cv-00269-TCK-JFJ Document 2 Filed in USDC ND/OK on 06/30/21 Page 1 of 6

FILED

UNITED STATES DISTRICT CouRT “UN 3 0 202
Mark C. McCartt, Clerk

NORTHERN DISTRICT OF OKLAHOMA U.S. DISTRICT COURT

4;
SNaverte M WilSon
Plaintitis) 21 CV- 269TCK - JFJ

 

 

VS. Case Number:
ke :
Tracey F Pasons *peborran Ludi Lerch
| Defendant(s)

MOTION FOR LEAVE TO PROCEED JIN FORMA PAUPERIS
AND SUPPORTING AFFIDAVIT

I hereby move for leave to: (please check)
A casiaoes this action without prepayment of fees and costs or giving security therefor.

Instructions. Please complete all questions in this application and then sign it on the last page. If the
answer to any question is "0" or "none," or the question is "not applicable", so indicate by writing "0",
"none", or "not applicable (N/A)". If additional space is needed to answer any question or to explain your
answer to any question, please use and attach a separate sheet of paper identified with your name, the
docket number of your case and the number of the question.

1. Are you or your spouse currently employed? Yes No ff

2. If you or your spouse are currently employed, state the name and address of your employer, the length
of your employment with that employer, and your monthly gross pay. Gross pay is pay before any taxes
or other deductions are taken. If you have more than one employer, please provide the information

requested below about the other employer(s) on a separate sheet of paper and attach it to this application.

Yourself: Your Spouse:

Name and Address of Employer Name and Address of Employer

NI]

 

 

 

 

 

Length of omen renee Employment

 

Years Months Years Months

Monthly Gross Pay $ 0 Monthly Gross Pay $ dD

3. If you are currently unemployed, state the date of your last employment and your monthly gross pay
during your last month of employment. Gross pay is pay before any taxes or other deductions are taken.

OK
Date of last employment (Month/Year) for yourself / ) OW ; spouse

Motion for Leave to Proceed In Forma Pauperis and Supporting Affidavit -1- ProSe-14 (4/09)
Case 4:21-cv-00269-TCK-JFJ Document 2 Filed in USDC ND/OK on 06/30/21 Page 2 of 6

AD

Monthly gross pay during last month of employment 40 2240

4. State whether you or your spouse have received money from any of the following sources during the
past twelve months, and, if so, the average monthly amount from that source. Adjust any money that was
received weekly, bi-weekly, quarterly, semi-annually, or annually to show the monthly rate.

Did you receive money from
any of the following sources
during the past 12 months?

Self-employment

Income from real property
(such as rental income)

Interest and dividends
Gifts
Alimony

Child Support

Retirement income from sources such
as social security, private pensions,
annuities, or insurance policies

Disability payments such as social
security, other state or federal
government, or insurance payments

Unemployment payments

Public assistance payments such as
welfare payments

Other sources of money

(specify: I MManons )

TOTAL

Average monthly amount during past © Amount expected next
12 months for you and your spouse if month

applicable.
_ You Spouse You Spouse

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b=]

5. State the amount of cash you and your spouse have: $ 9 ' ( IO

State below any money you or your spouse have in savings, checking, or other accounts in a bank or other

financial institution.

Bank or Other Financial Institution:

N/A

 

 

Type of Account Amount you Amount your
such as savings, have: spouse has:
checking, or CD:

 

 

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Motion for Leave to Proceed In Forma Pauperis and Supporting Affidavit -2- ProSe-14 (4/09)
Case 4:21-cv-00269-TCK-JFJ Document 2 Filed in USDC ND/OK on 06/30/21 Page 3 of 6

6. State below the assets owned by you and your spouse. Do not list ordinary household
furnishings and clothing.

Home Address: Value: $ |

Amount mortgages and

 

 

liens: $ :
Other real Address: yy Value: $ U

estate Amount owed on mortgages and

a liens: $
Motor vehicle Model/Y ear: — Value: $
make/ * Amount owed: $
XY)

Motor vehicle Model/Y ear:

Value: $ | )
make/ ; \ Amount owed: $

 

 

 

 

Value: $

N Amount owed: $ \)

Other Description:

 

 

7. State below any person, business, organization, or governmental unit that owes you or your
spouse money and the amount that is owed.

 

Name of Person, Business, or Organization Amount Owed Amount Owed
that Owes You or Your Spouse Money You: Your Spouse:
NON sO s_O
$ $

 

8. State the individuals who rely on you and your spouse for support. Indicate their relationship to you,
their age, and whether they live with you.

Name (or, if under 18, — Relationship Age Does this person live with

initials only) you?
Ae XO N W Yes vO No
\ Js). S QO N A Yes Pe

 

 

 

9. Complete this question by estimating the average monthly expenses of you and your family.

Motion for Leave to Proceed In Forma Pauperis and Supporting Affidavit -3- ProSe-14 (4/09)
Case 4:21-cv-00269-TCK-JFJ Document 2 Filed in USDC ND/OK on 06/30/21 Page 4 of 6

Show separately the amounts paid by your spouse. Adjust any payments that are made weekly,
bi-weekly, quarterly, semi-annually, or annually to show the monthly rate.

Y

o

u Spouse

Rent or home mortgage payment (include lot rented for mobile home)  $ 0 $

Are real estate taxes included? Yes ‘No ae
Is property insurance included? Yes = =» No_
Utilities: Electricity and heating fuel
Water and sewer
Telephone
Other

Home maintenance (Repairs and upkeep)

Food

prPaer

Clothing

Laundry and dry cleaning

Medical and dental expenses
Transportation (not including car payments)

. . . Rs
Recreation, clubs and entertainment, newspapers, magazines, etc. WY

Zz
=
fm Ff Ff 43 6©§ FfF§ &*&§ Ff§ fF fF F fF

Charitable contributions

Insurance (not deducted from wages or included in home mortgage

payments)
Homeowner's or renter's $ $
Life $ $
Health S $
Auto $ $
Other $ $

Taxes (not deducted from wages or included in home mortgage

payments) (specify)

 

Installment payments
Auto:
Credit Card: (name)

Department Store: (name)

 

Other
Other

PEPPRP -PSSSS FEFPP,

fF FSF fF |. Ff Ff
fe Ff 7 fF fF HF

Alimony, maintenance, and support paid to others

Motion for Leave to Proceed In Forma Pauperis and Supporting Affidavit -4- ProSe-14 (4/09)
Case 4:21-cv-00269-TCK-JFJ Document 2 Filed in USDC ND/OK on 06/30/21 Page 5 of 6

Payments for support of additional dependents not living at your home ()
$

$

Regular expenses from operation of business, profession, or farm ()
(attach detailed statement) $ $
Other $ C $
TOTAL MONTHLY EXPENSES $ lob $

10. Do you expect ae changes to your monthly income or expenses during the next four months?
Yes No

If yes, describe.
11. Have you paid an attorney any money for opin connection with this case, including the

completion of this form? Yes No

If yes, how much? $

If yes, provide the name, address, and telephone number of the attorney:

NONZ

 

 

12. Have you promised to pay or do you anticipate paying an attorney any money a in

connection with this case, including the completion of this form? Yes No

If yes, how much? $ ( )

If yes, provide the name, address, and telephone number of the attorney:
a a
NONT

13. Have you paid anyone other than an attorney (such as a paralegal, typing service, or another person)

 

 

any money for services in “ with this case, including the completion of this form?
Yes No

If yes, how much? $ OD

If yes, provide the name, address, and telephone number of the person or service:

NO NZ

 

 

14. Have you promised to pay or do you anticipate paying anyone other than an attorney (such as a

Motion for Leave to Proceed In Forma Pauperis and Supporting Affidavit -5- ProSe-14 (4/09)
Case 4:21-cv-00269-TCK-JFJ Document 2 Filed in USDC ND/OK on 06/30/21 Page 6 of 6

paralegal, typing service, or another person) any money es in connection with this case,
including the completion of sy Yes No

If yes, how much? $

If yes, provide the name, address, and telephone number of the person or service:

NONY,

 

 

15. Please Uner any other information that helps to explain wy XC are unable to pay the docket fees.

(pivy ea ALE TO CONID

16. sate t\ city and state a your legal residentve: lomicle

luisa, Ono,

Your daytime phone number:

AK) S21: Xo SX

Your age: ) Ss

Years of schooling: _| \ 0

Last 4 digits of your social security number: \ | aN

 

 

I declare under penalty of perjury that the above information is true and correct.

Date: _) [30 | 2.\ Signed: shades —

Print Name: SVACQWEAME M \NiSOn
BVVS 129™e Ave 442000
Tulsa, Ovianome 14134

 

 

Mation for Leave to Proceed In Forma Pauperis and Supporting Affidavit -6- ProSe-14 (4/09)
